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                                                                Thursday, 29 November, 2018 01:16:30 PM
                                                                             Clerk, U.S. District Court, ILCD

                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS

LAWRENCE L. SPANGLER and                             )
MARGARET SPANGLER,                                   )
                                                     )
               Plaintiffs,                           )
                                                     )
v.                                                   )      Case No.
                                                     )
WRIGHT MEDICAL TECHNOLOGY, INC.,                     )
                                                     )
               Defendant.                            )


                               COMPLAINT FOR DAMAGES

       Plaintiffs Lawrence L. Spangler (“Plaintiff Lawrence Spangler”, “Plaintiff Spangler”,

“Plaintiff”) and Margaret Spangler (collectively “Spangler”) file this Complaint for Damages and

Jury Trial Demand against Defendant Wright Medical Technology, Inc. (“Wright” or “Wright

Medical”), a Delaware corporation whose principal place of business is in Memphis, Shelby

County, Tennessee, respectively showing the Court the following:

                                    NATURE OF ACTION

       1.      This is a complaint for damages associated with metal wear debris, corrosion and

resultant metal ions from a failed Wright Medical Conserve® metal-on-metal hip implant.

       2.      For many years, Defendant has known its hip replacement device – the Wright

Medical Conserve® Total Hip System (“Conserve® Total Hip System,” “Conserve® Device,” or

the “Device”) – was prone to fretting and corrosion and had a propensity to fail within a few years

of implantation despite that hip implant devices typically up to twenty years or more. The

articulating pieces (femoral ball and cup) of Defendant Wright’s Device are comprised of a cobalt

and chromium (“CoCr”) alloy. As designed, the Device’s metal-on-metal components generate

metal debris, corrosion and metal ions, which cause dangerously elevated blood levels of CoCr
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ions, adverse tissue reactions, pseudotumors, necrosis, bone loss and other adverse medical events

in patients. As a result of the Device’s defects and Wright’s tortious acts/omissions, Plaintiff

Lawrence Spangler, and many other patients who received these Devices endured unnecessary

pain and suffering; debilitating lack of mobility; and a subsequent surgery to replace the defective

Device, giving rise to more pain and suffering, a prolonged recovery time, and an increased risk

of complications and death from surgery.

                                            PARTIES

       3.      At all relevant times hereto, Plaintiff Lawrence Spangler was and is an adult

resident and citizen of the State of Illinois, residing in Manteno, Kankakee County, Illinois.

       4.      Defendant Wright Medical Technology, Inc. (“Wright” or “Wright Medical") is a

Delaware corporation, with its principal place of business at 1023 Cherry Road, Memphis, Shelby

County, Tennessee 38117, and is registered to do business in the State of Tennessee, and at all

times relevant hereto did business in the State of Tennessee and in the State of Illinois. Defendant

Wright is a wholly owned subsidiary of Defendant Wright Medical Group, Inc. Wright may be

served with process by serving its registered agent for service, Corporation Service Company, at

2908 Poston Avenue, Nashville, Tennessee 37203-1312, or at Wright’s principal place of business

at 1023 Cherry Road, Memphis, Tennessee 38117-5423.

       5.      Defendant Wright was, at all relevant times, engaged in the business of designing,

developing, manufacturing, distributing, selling, marketing and/or introducing into interstate

commerce, either directly or indirectly through third parties or related entities, various prosthetic

orthopedic products, including the Conserve® Total Hip System at issue in this civil action.




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                       STATEMENT OF JURISDICTION AND VENUE

        6.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(a) as the

parties are citizens of different States, and the amount in controversy exceeds the sum or value of

$75,000, exclusive of interest and costs.

        7.      Venue is proper in this district pursuant to 28 U.S.C. § 1391, et seq., because a

substantial part of the events giving rise to this claim occurred in Illinois and this district.

        8.      At all times relevant hereto, Wright advertised, promoted, marketed, sold and/or

distributed the defective Dynasty® Total Hip System, including the Transcend®, Lineage®, and

Conserve® femoral CoCr alloy heads and Dynasty® acetabular cup shell and CoCr liner in Illinois

and throughout the United States.

                                   FACTUAL ALLEGATIONS

A. The Device and Its Regulatory History

        9.      Between approximately 2003 and 2011, Wright marketed and sold several metal-

on-metal (“MoM”) hip replacement devices, two of which were the Conserve® Total Hip Device

and the Conserve® Resurfacing Device.

        10.     The Conserve® Total Hip Device was developed for use in total hip replacements

and included four metal components: (1) a stem inserted into the patient’s femur, (2) a neck that

connects the stem to (3) a BFH metal femoral head (which Wright called the “BFH” – for “big

femoral head” - and the A-Class BFH), and (4) an acetabular shell.

        11.     The Conserve® Total Hip Device, like all hip implant products, is regulated by the

Food and Drug Administration (“FDA”) as a Class III Medical Device, pursuant to 21

U.S.C. § 360c and 21 C.F.R. § 88 888.3330, Prosthetic Devices.




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       12.     For Class III devices, the FDA requires compliance with either the Pre-Market

Approval process (“PMA”) or the section 510(k) substantial equivalence pre-market clearance

process before a manufacturer can market and sell a total hip replacement or hip resurfacing device

in the United States.

       13.     On July 1, 2002, the FDA gave Wright 510(k) clearance to market the Metal

Transcend Articulation System (Larger Sizes), which was re-branded the “Conserve” and is

referred to herein as the Conserve® Total Hip Device.

       14.     Several different acetabular shells were developed for use with the Conserve®

Devices, including: the “Thick Shell” (with a 5 mm wall thickness), the “Thin Shell” (with a 3 to

4 mm wall thickness), the “Spiked Shell” (with spikes), and the “HA Shell” (with a hydroxyl

apatite coating to facilitate bony ingrowth). (K041425 (Thick Shell); K031963 (Spiked Shell);

K042530 (HA Shell); K113322 (Thin Shell)).

       15.     Wright obtained FDA 510(k) clearance to market the Spiked Shell (in 2003), the

HA Shell (in 2004), and the Thick Shell (in 2004). (See id.)

       16.     Wright also received FDA 510(k) clearance to market the A-Class femoral head in

2005 (K051348).

       17.     But, despite that more than 90% of the acetabular shells that Wright marketed and

sold with Conserve® Devices between 2003 and 2011 were Thin Shells, Wright failed to seek FDA

510(k) clearance to market the Thin Shell until November 2011, and did not receive any FDA

clearance to market the Thin Shell until February 2012. (K113322).

       18.     By February 2012, Wright had no market for the Conserve® Hip Devices and had,

in fact, stopped marketing the Conserve® Devices in June 2011.




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B. Wright’s History with the Device.

       19.     Wright purchased Orthomet, Inc. to obtain a stake in the new and profitable metal-

on-metal hip replacement device market. In the early 1990s, after establishing itself in small joint

orthopedics and total knee replacements, Wright decided to move into the hip replacement market.

       20.     Wright purchased Orthomet, Inc. in December 1994 because Orthomet was in the

development stages of two MoM hip systems: the Transcend Metal-on-Metal Total Hip System

(which eventually became the Conserve® Total Hip Device) and the Conserve® Resurfacing

Device.

       21.     Orthomet hired Dr. Harlan Amstutz, a McKee fellow, a MoM proponent, and the

designer of the Tharies (a previous failed Zimmer resurfacing device), as the lead surgeon designer

for the Conserve® Devices.

       22.     As of the mid-1990s, the majority of the devices available for hip replacement

utilized a press fit metal shell with porous coating and a separate polyethylene liner with a ceramic

or metal head. Although Wright recognized that this construct was seeing good success, Wright

also recognized the substantial potential for a metal-on-metal articulation in hip replacement as an

alternative to using polyethylene.

       23.     In the late 1990s, Wright hoped to be the only orthopaedic medical device company

to offer a total resurfacing device in the United States, but because the McMinn System was

already on the market in European countries, Wright needed to move quickly to get the Conserve®

Resurfacing Device on the U.S. market.

       24.     Wright considered the Conserve® Resurfacing Device as a product that had the

potential to capture a significant market share in the United States.




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       25.     In July 1993, Al Lippincott from Orthomet prepared a product initiation request for

a metal-on-metal system, recognizing that, Orthomet had an opportunity to establish itself as a

forerunner in orthopedic research with development of a new metal-on-metal hip system and could

gain substantial market share of the hip implant market.

       26.     At that time, Orthomet recognized that several companies, including Sulzer,

DePuy, Smith & Nephew, Zimmer, and others were currently re-evaluating metal-on-metal

systems.

       27.     In November 1995, Wright Medical employees Al Lippincott and Robert L. Conta,

then Vice President of Development & Technology, attended a four-day conference, chaired by

Dr. Harlan C. Amstutz, and organized by the Joint Replacement Institute in Los Angeles. There,

industry professionals and experts held a four day MoM summit, open discussion, debate, and

dialogue about metal-on-metal hips, addressing the technology, the clinical significance of wear

debris, implant tribology, The need for changes, the types of studies needed to make sure they

were safe, and similar issues.

       28.     Conclusions drawn at the MoM summit included the possibility that MoM is not a

good alternative to polyethylene, and that more needed to be learned and studied regarding the

risks associated with MoM bearing surfaces.

       29.     In 1995, prior to marketing the Conserve® Devices, Wright was notified by leading

surgeons and designers of a number of major MoM risks that demanded further testing, such as:

metal toxicity, inflammation, bone loss, allergic reaction, local tumor formation, systemic effects,

soft tissue necrosis, osteolysis, and blood-borne metal ions.




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        30.     Yet Wright did not conduct any studies to investigate these known risks prior to

marketing its Conserve® Devices and components, and has never performed any tests related to

most of the “hot-button” issues that forced surgeons to reject metal-on-metal implants in the 1970s.

C. The Conserve Thin Shell Never Received PMA Approval and Was a Regulatory and
   Clinical Failure.

        31.     In 2000, Wright initiated clinical studies of its Conserve® Plus Hip Resurfacing

device, which was conducted under Investigational Device Exemption (“IDE”)1 G990328.

        32.     In September 2003, Wright submitted a Pre-Market Approval (PMA) submission,

#P030042, for its Conserve® Plus Resurfacing Hip System, which utilized a Thick Shell (with a

5mm wall thickness).

        33.     Following a January 2004 inspection related to the Conserve® Plus Resurfacing Hip

System PMA #P030042 and IDE study G990328, Wright was cited for failure to properly monitor

studies and failure to report adverse events.

        34.     Dr. Harlan Amstutz was similarly cited.

        35.     In July 2004, Wright was placed on Integrity Hold for regulatory violations related

to the Conserve® Plus Resurfacing Hip System PMA #P030042 and IDE study G990328.

        36.     Due to the FDA’s Integrity Hold, Wright could not submit products for approval

without an independent third party first reviewing its submission. Wright contracted with Phiama

Consulting and Health Policy Associates to conduct a review of device submissions to ensure the

overall quality of Wright’s future US regulatory submissions.




1
  An IDE allows a non-cleared, non-approved medical device to be used as part of a clinical study to collect
data as to safety and efficacy to support a PMA application or 510(k) premarket notification submission to
the FDA.


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          37.   The FDA continued to institute an Integrity Hold for Wright’s products for over

three years until September of 2007.

          38.   Wright further sought to add a Thin Shell (with a 3.5mm wall thickness) to its

Resurfacing PMA submission. But the clinical data from Wright’s Conserve® Plus Resurfacing

Device’s Thin Shell IDE cohort showed such high failures that Wright withdrew the Thin Shell

from its PMA application at least twice between 2003 and November 2011, due to the high failure

rate and lack of follow-up.

          39.   Wright’s Conserve® Resurfacing Device IDE clinical study results utilizing the

Thin Shell showed a revision rate - a failure of Conserve® device requiring surgery to replace the

components - of 18.6% of the patients at 24+ months.

          40.   Nonetheless, and despite its IDE clinical studies demonstrating the Thin Shell’s

clinical failure, from 2003 through 2011, Wright marketed the Conserve® Devices utilizing the

Thin Shell – a device never PMA approved and not 510(k) cleared by the FDA until 2012.

          41.   Wright never informed surgeons or patients that its own clinical studies revealed

that the Thin Shell caused an extraordinarily high revision rate of 18.6% at the 24 plus month

period.

          42.   The FDA found Wright had under-reported Thin Shell failures and that the Thin

Shell’s revision rate exceeded 33% in Wright’s clinical studies.

D. Wright Obtained Pre-Marketing 510(k) Clearance For Some – But Not All – Conserve®
   Components.

          43.   Wright sought FDA clearance to market its Conserve® Total Hip Device through

the 510(k) “substantial equivalence” process.

          44.   A 510(k) notice is a premarket submission in which the manufacturer claims the

submitted device is substantially equivalent to a predicate device that is already on the market.



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       45.     Wright represented that its first MoM device, the Transcend (later renamed

“Conserve”), was substantially equivalent to the previously marketed McKee-Farrar device.

       46.     The McKee-Farrar device, a MoM design first used in 1960, was removed from the

market in the 1970s because of problems with osteolysis, inflammation, cystic responses, cyto-

toxic metal ions and tissue reactions necessitating revisions in 50% of the implants, according to

the designer, Dr. George McKee.

       47.     Due to the poor clinical results of the McKee-Farrar device, the FDA refused to

allow it as an acceptable predicate design and demanded testing for Wright’s Metal Transcend

Articulation System (1997) submission (K964627).

       48.     The 1997 510(k) submission for the Metal Transcend Articulation System K964627

was never cleared for marketing.

       49.     In 2001, Wright obtained 510(k) clearance for its modular Metal Transcend

Articulation System, consisting of three components (a screw-fit 7(K004043), metal shell, metal

liner, and metal head) intended for use in total hip arthroplasty.

       50.     In 2002, Wright received 510(k) clearance to market the monoblock Metal

Transcend Articulation System (Larger Sizes) for use in total hip arthroplasty, utilizing a one-piece

(or “monoblock”) Thick Shell (with a 5mm wall thickness) and a metal femoral head based on its

purported equivalence to the Metal transcend Articulation System (K004043). (K021349).

       51.     In August 2005, Wright received FDA clearance to market the A-Class Conserve®

Total Femoral Head (K051348).

       52.     As Wright touted its “soon to be approved resurfacing device” to surgeons and

customer, Wright marketing personnel and agents realized that the Conserve® could be sold as a

total hip process and also had great promise for huge profits as a total hip replacement.




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E. Wright Dodged the FDA Through Inappropriate Use of a “Letter to File,” In Lieu Of the
   510(k) Process, For the Conserve® Thin Shell.

       53.     In 2003, Wright introduced its Conserve® Thin Shell (with a 3.5mm wall thickness)

to its Conserve® Devices without notification to FDA or 510(k) clearance, let alone PMA.

       54.     To avoid the FDA’s premarket approval (“PMA”) and 510(k) processes, Wright

used a “Letter to File,” an internal Wright decision to market the Thin Shell without notice to FDA.

This regulatory shortcut for the Conserve® Thin Shell was based on the supposed “Minor

Modification” to other substantially similar devices on the market.

       55.     Wright marketed the Conserve® Thin Shell for more than eight (8) years without

FDA notice or review, despite substantial clinical evidence collected through its Conserve® Plus

Resurfacing Thin Shell IDE study that the Conserve® Thin Shell had poor outcomes.

       56.     Wright later acknowledged that a design change affecting safety and efficacy to a

device is not appropriate for an internal Letter to File.

       57.     A wall thickness change from 5mm for the Conserve® Thick Shell to 3.5mm for

the Conserve® Thin Shell is a modification that affects the safety and effectiveness of the

Conserve® Devices, yet Wright did not conduct any clinical testing beyond the failed IDE to

evaluate whether the change from a Thick Shell to a Thin Shell affected safety or efficacy.

       58.     Because the change from the 5mm Conserve® Thick Shell to the 3.5mm Conserve®

Thin Shell was significant, and Wright did not account for the risk from this change in its Letter

to File MM03-0004, Wright’s decision to utilize a Letter to File in lieu of 510(k) clearance was

incorrect.

       59.     Instead of utilizing a unilateral Letter to File, Wright was required to obtain 510(k)

clearance to legally market the Conserve® Thin Shell.




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F. Wright Belatedly Obtained (Post-Market) 510(k) Clearance for the Thin Shell.

       60.     In September 2011, Wright finally acknowledged that the Thin Shell design

marketed under the February 13, 2003 Letter to File “Minor Modification” presented a new worse

case (thinner shell) and therefore should have been submitted to FDA for review under the 510(k)

process before marketing and sale of the Conserve® Thin Shell began in 2003.

       61.     As Wright consistently collected information questioning the safety and efficacy of

its Conserve® Devices and their components, it continued to promote the Conserve® Hip Devices

using false and misleading data.

       62.     For example, Wright continued to advertise that the Conserve® A-Class Device

generated fewer metal ions even though its own studies suggested the opposite conclusion.

G. Wright Aggressively Marketed the Device as Appropriate for Active Patients.

       63.     The Conserve® Hip Device’s use of BFH technology and A-Class metal was

marketed to surgeons as capable of increasing range of motion, decreasing dislocation issues,

lower wear, and biocompatibility, all of which were presented as significant benefits for young

and active recipients as well as anyone possessing a high-demand hip.

       64.     When Wright marketed the Conserve® Total Hip Device to surgeons, it claimed the

device was ideal for young, very active patients because post-hip-replacement, those patients could

be as active as they wanted to be, with a greater range of motion without dislocation or wear related

concerns.

       65.     Wright hired professional tennis player and celebrity Jimmy Connors as a

spokesperson of Wright to endorse and market the Conserve® Devices. Wright represented that

with his new Conserve® Device, Mr. Connors was back on the tennis court in 6 weeks, a result

that should be expected by patients who were implanted with the Conserve® Devices.




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       66.      In marketing the Conserve® Devices, Wright used marketing materials (websites,

journal ads, brochures, pamphlets, patient testimonials, endorsements, newspaper articles and

other PR) aimed at surgeons and younger, more active consumers who wanted to return to the

following strenuous physical activities, among others, that Wright advertised:

             a. Surfing;

             b. Yoga

             c. Skiing;

             d. Martial Arts, including competition levels;

             e. Hockey;

             f. Ice Skating;

             g. Motorcycling;

             h. Horseback rides;

             i. Tennis;

             j. Golf;

             k. Soccer;

             l. Football;

             m. Mountain climbing;

             n. Running, including marathons and triathlons;

             o. Hiking;

             p. Biking, including trail riding;

             q. Swimming;

             r. Racquetball;

             s. Active military duty;




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             t. Competitive wrestling; and

             u. Kayaking.

                        67.    Representative ads include:




       68.      Wright’s marketing of the Conserve® Devices included the following testimonials

from patients and surgeons:

             a. “Before the surgery I couldn’t run. I couldn’t play soccer. Now, there’s no pain in

                the joint at all. Hip replacement gave me my life back.”

             b. “Because the procedure allows him to be as aggressive as he wanted to be, there -

                - there was no reason for me to tell him to hold back.”

             c. “Some patients have been able to pursue more vigorous activities, including martial

                arts, hockey, running marathons, even climbing Mount Kilimanjaro.”




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             d. “Wright Medical which makes the Conserve® Total hip said the hip replacement

                lasts 25 to 30 years.”

             e. “Just six weeks after his [minimally invasive surgical] hip procedure, [Jimmy

                Connors] completed filming for a tennis training DVD.”

       69.      When Wright marketed the Conserve® Total Hip Device to surgeons, it claimed

that the device was fully biocompatible and that the device had good longevity.

       70.      Wright also knew researchers were advising against using metal-on-metal implants

in female patients and its own internal information showed dangerously high revision rates in

women.

       71.      Nonetheless, Wright continued to aggressively market its products for use by

women.

       72.      Wright’s partners at the Oxford Group (Richie Gill) reported unfavorable findings

on the Conserve® Devices, including a strong suggestion of pseudotumors associated with MoM

wear and recommended that Conserve® Devices not be implanted in women.

       73.      Wright also knew researchers were advising against putting the similar DePuy ASR

devices in women, and that its partners in Oxford planned to publish a paper warning against MoM

hip resurfacing in young females.

       74.      But Wright continued to market the Conserve® Devices to younger, active lifestyle

women; including younger women engaging in competitive martial arts, ice skating, running, dirt

biking, even those who desired to be “physically aggressive.”




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H. Wright Minimized the Known Risk of Elevated Metal Ion Levels.

       75.     Wright never provided any information to surgeons regarding what was considered

a dangerous cobalt or chromium ion level for a patient with a MoM Conserve® Device.

       76.     Wright never told surgeons about the risks and problems associated with its

Conserve® Total Hip Device, including metallosis.

       77.     The biggest concern Wright faced in selling the Conserve® Devices was the issue

of metal ion release, as surgeons’ top concern was the metal ions.

       78.     Before, during and after Wright designed, developed, manufactured, marketed and

sold its Conserve® Devices, Wright knew of the principles and concerns associated with MoM

devices generating wear debris and releasing toxic cobalt and chromium heavy metal ions.

       79.     Despite its knowledge that metal ions associated with MoM hips presented

significant risks, Wright worked to convince surgeons that metal ions were not an issue with the

Conserve® Devices.

       80.     Wright was aware as of 1998 that research indicated that at three years post-

implantation, there was as much as a 5X increase in the concentration of chromium in the serum

and 8X increase in the concentration of chromium in the urine for metal-on-metal versus metal-

on-poly hip replacement devices.

       81.     No later than 2003, Wright recognized that metallic particulate debris is

approximately an order of magnitude smaller than polyethylene debris, so that even low rates of

volumetric wear could lead to large numbers of particles.

       82.     Before, during and since Wright designed, developed, manufactured, marketed and

sold its Conserve® Devices, Wright knew that surgeons were concerned about metal ion release

and its effects on the body.




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        83.      Before, during and since Wright designed, developed, manufactured, marketed and

sold its Conserve® Devices, Wright knew patients with MoM hip implants exhibited 10 times

higher concentrations of metal ions compared to patients with MoP hip implants.

        84.      Before, during and since Wright designed, developed, manufactured, marketed and

sold its Conserve® Devices, Wright knew that Cobalt and Chromium ions cause metallosis,

necrosis, inflammation, bone loss, cup loosening, ALVAL and pseudotumors.

        85.      Before, during and since Wright designed, developed, manufactured, marketed and

sold its Conserve® Devices, Wright knew there were reports that Cobalt and Chromium ions have

toxic effects.

        86.      Before, during and since Wright designed, developed, manufactured, marketed and

sold its Conserve® Devices, Wright had available literature that indicated that combined ion levels

of Cobalt and Chromium of 5 ppb generated immune suppression.

        87.      Before, during and since Wright designed, developed, manufactured, marketed and

sold its Conserve® Devices, Wright had literature available that indicated that cobalt and

Chromium ion levels at 7 ppb were considered elevated and indicated that a patient and her

physicians should consider revision.

        88.      Before, during and since Wright designed, developed, manufactured, marketed and

sold its Conserve® Devices, Wright did not know how to evaluate the significance of Cobalt and

Chromium metal ion levels.

        89.      Before, during and since Wright designed, developed, manufactured, marketed and

sold its Conserve® Devices, Wright did not know what levels of Cobalt and/or Chromium ion

levels would or could cause harm.




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        90.   Before, during and since Wright designed, developed, manufactured, marketed and

sold its Conserve® Devices, Wright did not know the long term consequences to patients of

exposure to Cobalt and Chromium ions.

        91.   Despite the concerns for the effect, danger and damage potentially caused by Cobalt

and Chromium ions, and despite not knowing what ion levels would be safe, acceptable, injurious

or dangerous, Wright undertook no biocompatibility or any other testing to determine whether

metal-ion release from the Conserve® Device was safe.

        92.   Before, during and since Wright designed, developed, manufactured, marketed and

sold its Conserve® Devices, Wright never tried to determine what levels of Cobalt or Chromium

are toxic.

        93.   Before, during and since Wright designed, developed, manufactured, marketed and

sold its Conserve® Devices, Wright did no testing to assess the risk of metal ion release or the

effects of metal ion release on the human body.

        94.   Before, during and since Wright designed, developed, manufactured, marketed and

 sold its Conserve® Devices, Wright conducted no clinical studies to determine or evaluate the

 local or systemic effect of Cobalt and Chromium ions.

        95.   Before, during and since Wright designed, developed, manufactured, marketed and

 sold its Conserve® Devices, Wright never did any testing to determine the risk posed to patients

 from exposure to Cobalt and Chromium ions.

        96.   Wright recognized that surgeons’ biggest concern about the use of metal-on-metal

 hip devices was the generation of metal ions. Therefore, Wright had to convince surgeons that

 metal ions would not be an issue with the Conserve® Hip Implant.




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       97.     Minimizing metal ions was a huge concern for Wright in marketing its Conserve®

Devices that it focused extensively on minimizing metal-ion concerns through publications and

speakers.

       98.     Wright utilized consulting surgeon Key Opinion Leaders’ (“KOL’s”) presentations

to orthopaedic groups and peer reviewed data, paid-for scientific data publications, celebrity

endorsements, and sales representative training, among other avenues, to falsely assuage metal-

ion concerns and market the Conserve® Device.

       99.     Throughout the Conserve® Devices’ marketed lifespan, Wright consistently

boasted in its marketing that metal ions from Conserve® Device are harmless.

       100.    In fact, Wright’s OrthoRecon marketing department disregarded field concerns

over metal ion issues and told surgeons that Wright had no negative reports for metal ion issues.

       101.    Wright did not inform surgeons or potential patients of its concerns or lack of

knowledge regarding the release of Cobalt and Chromium ions from Conserve® Total Hip

Implants, despite acknowledging that surgeons and patients were concerned about the issue.

       102.    In fact, Wright, as early as 2002, told its sales personnel, who were in direct contact

with surgeons, that, “the effects of metal ion release are known and have been demonstrated to be

safe,” which was the equivalent of decriminalizing metal ions.

I. Wright Studied Metal Ions Solely to Support A-Class Sales.

       103.    Wright decided to run metal ion studies, not to determine safe levels of metal ions,

but instead to be able to market that its Conserve® Total Hip Device utilizing an A-Class femoral

head (which utilized a “harder” Cobalt and Chromium metal alloy than the standard femoral head)

would generate fewer metal ions than Wright’s competitor and thus Wright could sell the A-Class

device at a higher price.




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       104.    Wright aggressively marketed its A-Class metal, which it contended resulted in less

wear, less metal debris and, by implication, fewer metal ions.

       105.    Wright utilized taglines such as “Reduced Wear, Increased Longevity,” “A-Class

Never Compromise,” and “A Hip for Life” in marketing its A-Class BFH technology with the

Conserve® Total Hip Device.

       106.    Wright ignored that its A-Class metal ions studies were a failure, demonstrating

that less wear did not translate into fewer metal ions.

       107.    Even Wright’s internal metal ion studies conducted by key Conserve® Device

KOLs and surgeon consultants such as Paul Beaule, M.D., Josh Jacobs, M.D., and Koen DeSmet,

M.D. could not prove that the generation of less wear debris correlated with fewer metal ions,

despite Wright’s touting this alleged A-Class design advantage.

J.     Wright’s Representations and Reasonable/Justifiable Reliance.

       108.    Wright also told Milton J. Smit, M.D. (“Dr. Smit”) that the cobalt chromium cup

should last longer than a traditional Metal/Poly liner, and that there were no known issues

associated with cobalt and chromium ions.

       109.    Based on Dr. Smit’s information from Wright about the benefits of the Conserve®

Total Hip Device and no known risks from metal ions, and his recommendation, Plaintiff decided

to proceed with an elective right THR to implant a metal-on-metal Conserve® Total Hip Device,

utilizing the Thin Shell, and not another type of available hip such as the ceramic/poly.

       110.    On December 1, 2006, Dr. Smit implanted a Wright Conserve® system in Plaintiff

Spangler’s right hip, including the following components: A Wright Conserve® Total A-Class

Head with BFH Technology, a Conserve® Plus Spiked Cup (Thin Shell) Size 56 mm O.D., a

Profemur Plasma Z Stem, and Profemur Short Neck.




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        111.    On or about June 19, 2018, Plaintiff Lawrence Spangler experienced failure and

elevated metal ion levels and increased pain in Plaintiff’s right hip with activity.

        112.    On June 19, 2018, Plaintiff Spangler entered the hospital for right hip revision

surgery due to a failed right total hip arthroplasty.

        113.    Intraoperatively, Scott Sporer, M.D. (“Dr. Sporer”) noted moderate corrosion at the

head and neck junction of the femur, a loose acetabular component due to the lack of bone ingrowth

at the acetabulum component, and signs of metallosis reaction with discolored synovial fluid,

requiring removal of synovial fluid damaged by the metal debris.

        114.    Dr. Sporer indicated that Plaintiff’s right Conserve® Total Hip Device had failed

due to metallosis, i.e., acute onset of pain, soft tissue inflammation, tissue necrosis, etc.

        115.    Since Plaintiff’s Conserve® right hip revision surgery, Plaintiff is still restricted in

activities, and had to give up activities such as walking long distances; has physical limitations

when walking and bending; and he avoids moderate bending and lifting/dragging.

        116.    Also, on January 22, 2010, Dr. Smit implanted a Wright Conserve® system in

Plaintiff left hip, including the following components: A Wright Conserve® Total A-Class Head

with BFH Technology, a Conserve® Plus Spiked Cup (Thin Shell) Size 56 mm O.D., a Perfecta

RS Slim Neck Femoral Stem, and a Conserve® Total Medium Neck Sleeve.

        117.    On or about August 27, 2018, Plaintiff Lawrence Spangler experienced failure and

elevated metal ion levels and increased pain in Plaintiff’s left hip with activity.

        118.    On August 28, 2018, Plaintiff Spangler entered the hospital for left hip revision

surgery due to a failed left total hip arthroplasty.

        119.    Intraoperatively, Dr. Scott Sporer, M.D. noted corrosion at the head and neck

junction of the femur, a loose acetabular component due to the fibrous ingrowth at the acetabulum




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component, a large pseudotumor, tissue necrosis and signs of metallosis reaction, requiring

removal of synovial fluid damaged by the metal debris.

        120.       Dr. Sporer indicated that Plaintiff’s left Conserve® Total Hip Device had failed due

to metallosis, i.e., acute onset of pain, soft tissue inflammation, tissue necrosis, etc.

        121.       Since Plaintiff’s Conserve® left hip revision surgery, Plaintiff is still restricted in

activities, and had to give up activities such as walking long distances; has physical limitations

when walking and bending; and he avoids moderate bending and lifting/dragging.

        122.       Dr. Smit and numerous other physicians who previously had Wright consulting

contracts have testified that, had they been aware of the risks back in the early to mid-2000s when

they first started implanting the Conserve® hip replacement Devices, they would not have chosen

those implants.

        123.       Presently, Dr. Smit is aware of risks associated with the Conserve® hip implant

such as adverse reaction, metal ions, metallosis, necrotic tissues that he was not aware of at the

time of Plaintiff’s implant surgeries in December 2006 and January 2010.

        124.       If Dr. Smit had known in December 2006 and January 2010 what he knows now

about the risks from metallosis from the Conserve® Total Hip Device, he would not have implanted

it in Plaintiff.

        125.       Wright marketed that the Conserve® Devices experienced acceptably low failure

rates, despite real revision rates reported via medical device registries and surgeons’ actual

revisions demonstrating that the Conserve® Devices had a statistically unacceptably high failure

rate.

        126.       Wright has never reported the Conserve® Devices’ high failure rates to surgeons,

to patients with implanted Conserve® Devices, or to the public.




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       127.   Wright continued to market the Conserve® Devices even as its own KOLs,

consultants, researchers and surgeons were reporting high failure rates and other problems with

the implant, and even discontinuing use of the Conserve® Devices.

       128.   Wright received complaints and reports of unacceptable failure rates of its

Conserve® Devices from Brad Penenberg, M.D., a Wright KOL, consultant, Peer-to-Peer trainer,

premier Los Angeles surgeon and Conserve® Devices royalty recipient, who concluded the

Conserve® Device was not a successful product and stopped using them because of problems he

experienced with the Conserve® Devices starting in 2007.

       129.   Although Patrick Fisher, Director of Hip Marketing admitted that it was significant

that Wright’s most prominent, highest paid consultant thought the Conserve® Device was a failure,

Wright never shared that information with other surgeons or the public.

       130.   C. Lowry Barnes, M.D., from Little Rock, Arkansas, a Wright KOL, consultant,

and Peer-to-Peer trainer, complained about the Conserve® Devices and stopped using them.

       131.   G. Lynn Rasmussen, M.D., and his partner, Kent Samuelson, M.D., both Wright

KOLs, consultants and high-volume Conserve® Device implant surgeons in Salt Lake City, Utah,

stopped using the Conserve® Devices because of unacceptably high failure rates.

       132.   Michael Andersen, M.D., a Wright KOL, product champion, Conserve® Devices

royalty recipient from Germantown, Wisconsin, had problems with the Conserve® Devices that

were known to Wright.

       133.   Michael Dunbar, M.D., from Halifax, Nova Scotia, reported a 20% Conserve®

Device failure rate to Wright in March 2008 and discontinued using the Conserve® Devices.




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       134.    Edward Sparling, from Vancouver, Washington, a high volume Wright surgeon,

KOL, consultant and IDE participant, reported problems with the Conserve® Devices to Wright

and stopped using them in April 2009.

       135.    Richard Weiner, M.D., from Palm Beach, Florida, a high-volume Wright surgeon,

reported high Conserve® Device failure rates to Wright, advised Wright that the Conserve®

Devices should never be implanted in women, and stopped using the Conserve® Devices.

       136.    Raymond Corpe, M.D., from Augusta, Georgia, a Wright KOL, consultant and

high-volume Wright implant surgeon, complained to Wright about the Conserve® Devices and

stopped using the Conserve® Devices.

       137.    Vincent Fowble, M.D., from Jupiter, Florida, a Wright KOL, consultant and high-

volume Wright implant surgeon, complained to Wright about the Conserve® Devices and stopped

using the Conserve® Devices.

       138.    Kace Ezzet, M.D., from La Jolla, California, reported high failure rates to Wright

and as a result, stopped using the Conserve® Devices.

       139.    Plaintiff Spangler’s implant surgeon Milton Smit, from Bradley, Illinois, a Wright

KOL, consultant and high-volume Wright implant surgeon, complained to Wright about the

Conserve® Devices’ high failure rates and stopped using the Conserve® Devices.

       K.      Wright Ignored and Isolated Complaining Physicians.

       140.    Wright created a smokescreen by isolating and blaming surgeons who reported

failures, telling reporting surgeons that no other surgeons around the country were having failures.

       141.    When distributor David J. Burke reported an increase in failed Conserve Devices

to Wright, Wright told him that they were not having problems with the device and questioned

whether the surgeons at issue had followed proper surgical protocol.




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        142.    Wright did not reveal these surgeon complaints and decisions not to use the

Conserve® Devices to other surgeons, Wright’s complaint department, Wright sales personnel or

distributors, patients or the public.

        143.    Internally, Wright’s less-than-robust complaint department continued to receive

complaints from all over the country regarding metal debris, reactions, pseudotumors and aseptic,

lymphocyte-dominated vasculitis-associated lesions (“ALVAL”) associated with the Conserve®

Devices.

        144.    Wright received registry data that showed increasing failures of the Conserve®

Devices, including: a 2008 Australian Bone & Joint Registry Report of a 16.4% failure rate; a

2009 UK National Joint Registry Report of a 7.4% failure rate; a 2011 UK National Joint Registry

Report of a 8.35% failure rate; and a 2012 UK National Joint Registry Report of an 8.52% failure

rate at five years.

        145.    In response to an Association of British Healthcare Industries (“ABHI”) position

statement on MoM hip bearings, Wright acknowledged it knew from the start that the clinical

performance of early MoM devices “frequently and matter-of-factly mentioned tissue reactions,

metallosis, and revisions due to pain.”

                          PLAINTIFF’S INJURIES AND DAMAGES

               PLAINTIFF LAWRENCE SPANGLER’S RIGHT Conserve® HIP

        146.    On or about December 1, 2006, Plaintiff Lawrence Spangler had a Wright

Conserve® artificial hip implanted in his right hip (“Index Surgery”) in a procedure known as a

total hip arthroplasty (or “THA”).

        147.    Orthopedic surgeon Milton Smit performed the Index Surgery during which he

implanted the Conserve® Total Hip System in Plaintiff Spangler’s right hip.




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       148.    Plaintiff Spangler’s right hip Index Surgery was performed at St. Mary’s Hospital,

500 W. Ct. Street, Kankakee, Kankakee County, Illinois.

       149.    Dr. Smit did not breach any generally accepted standard of care in the field of

orthopedic surgery in his care and treatment of Plaintiff Spangler or negligently cause any injury

to Plaintiff in any of the following respects:

       (a)     in the care or treatment that he provided to Plaintiff Spangler prior to beginning the

hip implant surgery;

       (b)     in the hip implant surgery he performed on Plaintiff Spangler; or

       (c)     in the care or treatment that he provided to Plaintiff Spangler, subsequent to

Plaintiff’s right hip implant surgery.

       150.    Based upon the patient population that Wright intended its artificial hip devices to

be implanted in, at the time of Plaintiff Spangler’s right Index Surgery, he was an appropriate

patient to be implanted with the Conserve® Total Hip System.

       151.    Dr. Smit recommended the Conserve® Total Hip System to Plaintiff Spangler’s and

indicated that the Device was appropriate for his right hip.

       152.    Plaintiff Spangler reasonably relied upon Dr. Smit in deciding to proceed with right

hip replacement surgery and have the Conserve® Total Hip System implanted.

       153.    Before or during the course of Plaintiff Spangler’s right Index Surgery, Defendant

arranged for the Conserve® Total Hip System that was implanted in Plaintiff Spangler to be

delivered to St. Mary’s Hospital and/or Dr. Smit for implantation in Plaintiff Spangler’s right hip.

       154.    Defendant, directly or through its subsidiaries or affiliates, designed, manufactured,

distributed and sold in the United States various prosthetic orthopedic devices, including the




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Conserve® Total Hip System implanted in Plaintiff during the right hip Index Surgery, which

included the following components:

       •   Wright Conserve® A-Class Total Femoral Head with BHF Technology
           50 mm Long
           Ref. No. 38AM-5035
           Lot No. 016281537

       •   Wright Conserve® Plus Spiked Cup
           56 mm
           Ref. No. 38SP-5056
           Lot No. 09369281

       •   Wright Profemur® Modular Short Neck
           Ref. No. PHAO-1222
           Lot No. 0936374401

       •   Wright Profemur® Plasma Z Femoral Stem
           Ref. No. PHAO-0270
           Lot No. 076358025

These Wright components are hereinafter collectively referred to as the “Conserve® Total Hip

System” or the “Device.”

       155.    At the Index Surgery, each of the components of Plaintiff Spangler’s right hip

Conserve® Total Hip System was in substantially the same condition in all relevant respects as

when they left Defendant’s control.

       156.    At all times relevant hereto, Plaintiff Spangler used the Conserve® Total Hip

System implanted during the Index Surgery in a normal and reasonably foreseeable manner.

       157.    On or about June 19, 2018, Plaintiff Spangler reported to Dr. Scott Sporer for

revision surgery of his failed right hip prosthesis (“Revision Surgery”). Dr. Sporer recommended

the revision surgery after Plaintiff presented with increased metal ion levels and pain.

       158.    Plaintiff Spangler’s right hip Revision Surgery was necessary because the Device

failed due to adverse tissue reaction to metal debris, corrosion and resultant metal ions.



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        159.     The Revision Surgery was performed by Dr. Sporer at Elmhurst Memorial

Hospital/Midwest Orthopaedics at Rush, 155 E. Brush Hill Rd., Elmhurst, DuPage County,

Illinois.    During the Revision Surgery, Dr. Sporer removed failed components of Plaintiff

Spangler’s right Conserve® Total Hip System.

        160.     But for the fact that the Conserve® Total Hip System had generated metal debris,

metal ions and corroded causing it to fail and injure Plaintiff Spangler, Plaintiff’s Device was not

otherwise in need of revision.

        161.     On or about June 19, 2018, it was discovered that the Device failed due to metal

debris, corrosion and resultant metal ions, due to the metal-on-metal design between the

articulating surfaces, causing continuing and otherwise irreversible physical injury to Plaintiff.

        162.     On or about June 19, 2018, the Conserve® Total Hip System implanted in Plaintiff

Spangler’s right hip was discovered to have failed as a direct and proximate result of the actions,

conduct, negligence, and breach of duties of the Defendant, as alleged in this Complaint.

        163.     The Conserve® Total Hip System (and its components), to include the Device

implanted in Plaintiff Spangler was not merchantable, and was unreasonably dangerous for its

intended and/or reasonably foreseeable uses in that:

                 (a)    it was and is unreasonably dangerous under Illinois’ product liability law as

        a result of one or more or a combination of the following:

                        (i)      the    Conserve®      Total     Hip      Implant     System      was

                 manufactured/designed in such a manner as to generate CoCr metal debris,

                 corrosion and resultant CoCr metal ions, thereby increasing the potential for failure;




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                        (ii)      the components were manufactured/designed in such a way as to

                make the articulating surfaces of the components susceptible to fretting and

                corrosion, thereby increasing the potential for failure; and

                       (iii)      there may be other conditions or defects yet to be determined.

                (b)    it was dangerous to an extent beyond which could be contemplated by the

       ordinary consumer with the ordinary knowledge common to the community as to its

       characteristics in that:

                       (i)        the ordinary consumer would not contemplate that the Device would

                create metal debris, metal ions and corrosion or that premature revision surgery

                would become necessary only eleven (11) years after implantation; and

                       (ii)       the ordinary consumer would not contemplate that the ordinary

                activities of daily living would result in the Device releasing harmful metal ions

                and metal debris in the consumer’s body that caused adverse tissue reactions and

                other medical complications.

       164.     The Device was not tested in design and development under conditions that were

known would be encountered in the normal in vivo patient environment over substantial periods

of time.

       165.     The Device was not tested in design and development under the normal in vivo

patient environmental conditions that were known would be encountered during normal use of the

Device.

       166.     The Device was not tested for the FDA Section 510(k) Premarket Notification

Process under conditions that were known would be encountered in the normal in vivo patient

environment.




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       167.       Wright’s testing of the Device did not adhere to or meet FDA guidance.

       168.       Wright knew the Device was failing from fretting and corrosion of the articulating

surface prior to the day Wright provided its 510(k) submission to the FDA.

       169.       Wright knew the Device was failing at higher than expected rates from fretting and

corrosion of the articulating surface prior to the date of its implantation in Plaintiff Spangler during

the right hip Index Surgery.

       170.       Wright knew the Device was failing at higher than expected rates due to fretting

and corrosion prior to the date of Plaintiff Spangler’s right hip Revision Surgery, during which it

was discovered that Plaintiff suffered from adverse tissue reaction to metal debris, metal ions and

corrosion.

       171.       Prior to the Index Surgery, Wright did not warn patients, surgeons, customers, or

its sales representatives/distributors that the Device was known to be failing from metal debris and

corrosion at higher than expected rates.

       172.       On or about June 19, 2018, Plaintiff Spangler discovered the Device implanted in

his right side failed due to adverse tissue reaction from metal debris, metal ions and corrosion as a

result of one or more or a combination of the foregoing unreasonably dangerous conditions.

       173.       As a direct and proximate result of the failure of the right side Conserve® Total Hip

System, Plaintiff Spangler has sustained injuries and damages, including, but not limited to:

                  (a)    undergoing surgery to remove and replace the failed prosthesis;

                  (b)    past and future pain and anguish, both in mind and in body;

                  (c)    permanent diminishment of his ability to participate in and enjoy the affairs

       of life;

                  (d)    medical bills associated with the revision surgery and recovery therefrom;




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               (e)     future medical expenses;

               (f)     loss of enjoyment of life;

               (g)     loss of past and future earnings and earning capacity;

               (h)     disfigurement; and

               (i)     physical impairment.

              PLAINTIFF LAWRENCE SPANGLER’S LEFT Conserve® HIP

       174.    On or about January 22, 2010, Plaintiff Lawrence Spangler had a Wright Conserve®

artificial hip implanted in his left hip (“Index Surgery”) in a procedure known as a total hip

arthroplasty (or “THA”).

       175.    Orthopedic surgeon Milton Smit performed the Index Surgery during which he

implanted the Conserve® Total Hip System in Plaintiff Spangler’s left hip.

       176.    Plaintiff Spangler’s right hip Index Surgery was performed at St. Mary’s Hospital,

500 W. Ct. Street, Kankakee, Kankakee County, Illinois.

       177.    Dr. Smit did not breach any generally accepted standard of care in the field of

orthopedic surgery in his care and treatment of Plaintiff Spangler or negligently cause any injury

to Plaintiff in any of the following respects:

       (a)     in the care or treatment that he provided to Plaintiff Spangler prior to beginning the

hip implant surgery;

       (b)     in the hip implant surgery he performed on Plaintiff Spangler; or

       (c)     in the care or treatment that he provided to Plaintiff Spangler, subsequent to

Plaintiff’s left hip implant surgery.




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       178.    Based upon the patient population that Wright intended its artificial hip devices to

be implanted in, at the time of Plaintiff Spangler’s left Index Surgery, he was an appropriate patient

to be implanted with the Conserve® Total Hip System.

       179.    Dr. Smit recommended the Conserve® Total Hip System to Plaintiff Spangler’s and

indicated that the Device was appropriate for his left hip.

       180.    Plaintiff Spangler reasonably relied upon Dr. Smit in deciding to proceed with left

hip replacement surgery and have the Conserve® Total Hip System implanted.

       181.    Before or during the course of Plaintiff Spangler’s left Index Surgery, Defendant

arranged for the Conserve® Total Hip System that was implanted in Plaintiff Spangler to be

delivered to St. Mary’s Hospital and/or Dr. Smit for implantation in Plaintiff Spangler’s left hip.

       182.    Defendant, directly or through its subsidiaries or affiliates, designed, manufactured,

distributed and sold in the United States various prosthetic orthopedic devices, including the

Conserve® Total Hip System implanted in Plaintiff during the left hip Index Surgery, which

included the following components:

       •   Wright Conserve® A-Class Total Femoral Head with BHF Technology
           50 mm Long
           Ref. No. 38AC-5000
           Lot No. 025807356

       •   Wright Conserve® Plus Spiked Cup
           56 mm
           Ref. No. 38SP-5056
           Lot No. 089876942

       •   Wright Conserve® Total Medium Neck Sleeve
           Ref. No. 38NS-0000
           Lot No. 109950889

       •   Wright Perfecta® RS Slim Neck Femoral Stem
           Ref. No. 3904-1420
           Lot No.047425793



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These Wright components are hereinafter collectively referred to as the “Conserve® Total Hip

System” or the “Device.”

        183.     At the Index Surgery, each of the components of Plaintiff Spangler’s left hip

Conserve® Total Hip System was in substantially the same condition in all relevant respects as

when they left Defendant’s control.

        184.     At all times relevant hereto, Plaintiff Spangler used the Conserve® Total Hip

System implanted during the Index Surgery in a normal and reasonably foreseeable manner.

        185.     On or about August 27, 2018, Plaintiff Spangler reported to Dr. Scott Sporer for

revision surgery of his failed left hip prosthesis (“Revision Surgery”). Dr. Sporer recommended

the revision surgery after Plaintiff presented with a suspected pseudotumor, increased metal ion

levels, and increased pain.

        186.     Plaintiff Spangler’s left hip Revision Surgery was necessary because the Device

failed due to adverse tissue reaction to metal debris, corrosion and resultant metal ions.

        187.     The Revision Surgery was performed by Dr. Sporer at Elmhurst Memorial

Hospital/Midwest Orthopaedics at Rush, 155 E. Brush Hill Rd., Elmhurst, DuPage County,

Illinois.    During the Revision Surgery, Dr. Sporer removed failed components of Plaintiff

Spangler’s left Conserve® Total Hip System.

        188.     But for the fact that the Conserve® Total Hip System had generated metal debris,

metal ions and corroded causing it to fail and injure Plaintiff Spangler, Plaintiff’s Device was not

otherwise in need of revision.

        189.     On or about August 27, 2018, it was discovered that the Device failed due to metal

debris, corrosion and resultant metal ions, due to the metal-on-metal design between the

articulating surfaces, causing continuing and otherwise irreversible physical injury to Plaintiff.




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       190.    On or about August 27, 2018, the Conserve® Total Hip System implanted in

Plaintiff Spangler’s left hip was discovered to have failed as a direct and proximate result of the

actions, conduct, negligence, and breach of duties of the Defendant, as alleged in this Complaint.

       191.    The Conserve® Total Hip System (and its components), to include the Device

implanted in Plaintiff Spangler was not merchantable, and was unreasonably dangerous for its

intended and/or reasonably foreseeable uses in that:

               (a)     it was and is unreasonably dangerous under Illinois’ product liability law as

       a result of one or more or a combination of the following:

                       (i)        the    Conserve®      Total    Hip      Implant     System       was

               manufactured/designed in such a manner as to generate CoCr metal debris,

               corrosion and resultant CoCr metal ions, thereby increasing the potential for failure;

                        (ii)      the components were manufactured/designed in such a way as to

               make the articulating surfaces of the components susceptible to fretting and

               corrosion, thereby increasing the potential for failure; and

                       (iv)       there may be other conditions or defects yet to be determined.

               (b)     it was dangerous to an extent beyond which could be contemplated by the

       ordinary consumer with the ordinary knowledge common to the community as to its

       characteristics in that:

                       (i)        the ordinary consumer would not contemplate that the Device would

               create metal debris, metal ions and corrosion or that premature revision surgery

               would become necessary only eight (8) years after implantation; and

                       (ii)       the ordinary consumer would not contemplate that the ordinary

               activities of daily living would result in the Device releasing harmful metal ions




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                and metal debris in the consumer’s body that caused adverse tissue reactions and

                other medical complications.

       192.     The Device was not tested in design and development under conditions that were

known would be encountered in the normal in vivo patient environment over substantial periods

of time.

       193.     The Device was not tested in design and development under the normal in vivo

patient environmental conditions that were known would be encountered during normal use of the

Device.

       194.     The Device was not tested for the FDA Section 510(k) Premarket Notification

Process under conditions that were known would be encountered in the normal in vivo patient

environment.

       195.     Wright’s testing of the Device did not adhere to or meet FDA guidance.

       196.     Wright knew the Device was failing from fretting and corrosion of the articulating

surface prior to the day Wright provided its 510(k) submission to the FDA.

       197.     Wright knew the Device was failing at higher than expected rates from fretting and

corrosion of the articulating surface prior to the date of its implantation in Plaintiff Spangler during

the left hip Index Surgery.

       198.     Wright knew the Device was failing at higher than expected rates due to fretting

and corrosion prior to the date of Plaintiff Spangler’s left hip Revision Surgery, during which it

was discovered that Plaintiff suffered from adverse tissue reaction to metal debris, metal ions and

corrosion.




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       199.       Prior to the Index Surgery, Wright did not warn patients, surgeons, customers, or

its sales representatives/distributors that the Device was known to be failing from metal debris and

corrosion at higher than expected rates.

       200.       On or about August 27, 2018, Plaintiff Spangler discovered the Device implanted

in his left side failed due to adverse tissue reaction from metal debris, metal ions and corrosion as

a result of one or more or a combination of the foregoing unreasonably dangerous conditions.

       201.       As a direct and proximate result of the failure of the right side Conserve® Total Hip

System, Plaintiff Spangler has sustained injuries and damages, including, but not limited to:

                  (a)    undergoing surgery to remove and replace the failed prosthesis;

                  (b)    past and future pain and anguish, both in mind and in body;

                  (c)    permanent diminishment of his ability to participate in and enjoy the affairs

       of life;

                  (di)   medical bills associated with the revision surgery and recovery therefrom;

                  (e)    future medical expenses;

                  (f)    loss of enjoyment of life;

                  (g)    loss of past and future earnings and earning capacity;

                  (h)    disfigurement; and

                  (i)    physical impairment.

            FEDERAL STATUTORY AND REGULATORY REQUIREMENTS

       202.       Pursuant to federal law, a medical device is deemed to be adulterated if, among

other things, it fails to meet established performance standards, or if the methods, facilities or

controls used for its manufacture, packing, storage or installation are not in conformity with federal

requirements. 21 U.S.C. § 351.




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       203.    Pursuant to federal law, a device is deemed to be misbranded if, among other things,

its labeling is false or misleading in any particular, or if it is dangerous to health when used in the

manner prescribed, recommended or suggested in the labeling thereof. 21 U.S.C. § 352.

       204.    Pursuant to federal law, manufacturers are required to comply with FDA regulation

of medical devices, including FDA requirements for records and reports, in order to prevent

introduction of medical devices that are adulterated or misbranded, and to assure the safety and

effectiveness of medical devices. In particular, manufacturers must keep records and make reports

if any medical device may have caused or contributed to death or serious injury, or if the device

has malfunctioned in a manner likely to cause or contribute to death or serious injury. Federal law

also mandates that the FDA establish regulations requiring a manufacturer of a medical device to

report promptly to FDA any correction or removal of a device undertaken to reduce a risk to health

posed by the device, or to remedy a violation of federal law by which a device may present a risk

to health. 21 U.S.C. § 360(i).

       205.    Pursuant to federal law, the Secretary of Health and Human Services may prescribe

regulations requiring that the methods used in, and the facilities and controls used for, the

manufacture, pre-production design validation (including a process to assess the performance of a

device, but not including an evaluation of the safety or effectiveness of a device), packaging,

storage and installation of a device conform to current good manufacturing practice, as prescribed

in such regulations, to assure that the device will be safe and effective and otherwise in compliance

with federal law.

       206.    The regulations requiring conformance to good manufacturing practices are set

forth in 21 C.F.R. § 820, et seq. As explained in the Federal Register, because the Current Good

Manufacturing Practice (CGMP) regulations must apply to a variety of medical devices, the




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regulations do not prescribe the details for how a manufacturer must produce a device. Rather, the

quality system regulations provide a framework of basic requirements for each manufacturer to

use in establishing a quality system appropriate to the devices designed and manufactured and the

manufacturing processes employed. Manufacturers must adopt current and effective methods and

procedures for each device they design and manufacture to comply with and implement the basic

requirements set forth in the quality system regulations.

       207.    Pursuant to 21 C.F.R. § 820.1(c), the failure to comply with any applicable

provision in Part 820 renders a device adulterated under section 501(h) of the Federal Drug &

Cosmetic Act (“the Act”). 21 U.S.C. § 351.

       208.    Pursuant to 21 C.F.R. § 820.5, each manufacturer shall establish and maintain a

quality system that is appropriate for the specific medical device designed or manufactured.

“Quality system” means the organizational structure, responsibilities, procedures, processes and

resources for implementing quality management. 21 C.F.R. § 820.3(v).

       209.    Pursuant to 21 C.F.R. § 820.22, each manufacturer shall establish procedures for

quality audits and conduct such audits to assure that the quality system is in compliance with the

established quality system requirements and to determine the effectiveness of the quality system.

       210.    Pursuant to 21 C.F.R. § 820.30(a), each manufacturer shall establish and maintain

procedures to control the design of the device in order to ensure that specified design requirements

are met.

       211.    Pursuant to 21 C.F.R. § 820.30(d), each manufacturer shall establish and maintain

procedures for defining and documenting design output in terms that allow an adequate evaluation

of conformance to design input requirements.




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       212.    Pursuant to 21 C.F.R. § 820.30(e), each manufacturer shall establish and maintain

procedures to ensure that formal documented reviews of the design results are planned and

conducted at appropriate stages of the device’s design development.

       213.    Pursuant to 21 C.F.R. § 820.30(f), each manufacturer shall establish and maintain

procedures for verifying the device design to confirm that the device design output meets the

design input requirements.

       214.    Pursuant to 21 C.F.R. § 820.30(g), each manufacturer shall establish and maintain

procedures for validating the device design. Design validation shall be performed under defined

operating conditions on initial production units, lots or batches, or their equivalents. Design

validations shall ensure that devices conform to defined user needs and intended uses and shall

include testing of production units under actual or simulated use conditions.

       215.    Pursuant to 21 C.F.R. § 820.30(h), each manufacturer shall establish and maintain

procedures to ensure that the device design is correctly translated into production specifications.

       216.    Pursuant to 21 C.F.R. § 820.30(i), each manufacturer shall establish and maintain

procedures for the identification, documentation, validation or where appropriate verification,

review and approval of design changes before their implementation.

       217.    Pursuant to 21 C.F.R. § 820.70(a), each manufacturer shall develop, conduct,

control and monitor production processes to ensure that a device conforms to its specifications.

Where deviations from device specifications could occur as a result of the manufacturing process,

the manufacturer shall establish and maintain process control procedures that describe any process

controls necessary to ensure conformance to specifications. Such process controls shall include:

               (a)     documented instructions, standard operating procedures (SOPs) and

       methods that define and control the manner of production;




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               (b)     monitoring and control of process parameters and component and device

       characteristics during production;

               (c)     compliance with specified reference standards or codes;

               (d)     the approval of processes and process equipment; and

               (e)     criteria for workmanship which shall be expressed in documented standards

       or by means of identified and approved representative samples.

       218.    Pursuant to 21 C.F.R. § 820.70(b), each manufacturer shall establish and maintain

procedures for changes to a specification, method, process or procedure.

       219.    Pursuant to 21 C.F.R. § 820.70(c), each manufacturer shall establish and maintain

procedures to adequately control environmental conditions that could reasonably be expected to

have an adverse effect on product quality, including periodic inspection of environmental control

system(s) to verify that the system, including necessary equipment, is adequate and functioning

properly.

       220.    Pursuant to 21 C.F.R. § 820.70(e), each manufacturer shall establish and maintain

procedures to prevent contamination of equipment or product by substances that could reasonably

be expected to have an adverse effect on produce quality.

       221.    Pursuant to 21 C.F.R. § 820.70(g), each manufacturer shall ensure that all

equipment used in the manufacturing process meets specified requirement and is appropriately

designed, constructed, placed and installed to facilitate maintenance, adjustment, cleaning an use.

       222.    Pursuant to 21 C.F.R. § 820.70(h), each manufacturer shall establish and maintain

procedures for the use and removal of manufacturing material which could reasonably be expected

to have an adverse effect on product quality to ensure that it is removed or limited to an amount

that does not adversely affect the device’s quality.




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       223.    Pursuant to 21 C.F.R. § 820.70(i), when computers or automated data processing

systems are used as part of production or the quality system, the manufacturer shall validate

computer software for its intended use according to an established protocol.

       224.    Pursuant to 21 C.F.R. § 820.72, each manufacturer shall ensure that all inspection,

measuring and test equipment, including mechanical, automated or electronic inspection and test

equipment, is suitable for its intended purposes and is capable of producing valid results. Each

manufacturer shall establish and maintain procedures to ensure that equipment is routinely

calibrated, inspected, checked and maintained.

       225.    Pursuant to 21 C.F.R. § 820.75(a), where the results of a process cannot be fully

verified by subsequent inspection and test, the process shall be validated with a high degree of

assurance and approved according to established procedures.          “Process validation” means

establishing by objective evidence that a process consistently produces a result or product meeting

its predetermined specifications. See 21 C.F.R. § 820.3(z)(1).

       226.    Pursuant to 21 C.F.R. § 820.75(b), each manufacturer shall establish and maintain

procedures for monitoring and control of process parameters for validated processes to ensure that

the specified requirements continue to be met. Each manufacturer shall ensure that validated

processes are performed by qualified individuals.

       227.    Pursuant to 21 C.F.R. § 820.90, each manufacturer shall establish and maintain

procedures to control product that does not conform to specified requirements.

       228.    Pursuant to 21 C.F.R. § 820.100, each manufacturer shall establish and maintain

procedures for implementing corrective and preventive action. The procedures shall include

requirements for:




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               (a)    analyzing processes, work operations, concessions, quality audit reports,

       quality records, service records, complaints, returned product, and other sources of quality

       data to identify existing and potential causes of nonconforming product or other quality

       problems;

               (b)    investigating the cause of nonconformities relating to product, processes

       and the quality system;

               (c)    identifying the action(s) needed to correct and prevent recurrence of

       nonconforming product and other quality problems;

               (d)    verifying or validating the corrective and preventative action to ensure that

       such action is effective and does not adversely affect the finished device;

               (e)    implementing and recording changes in methods and procedures needed to

       correct and prevent identified quality problems;

               (f)    ensuring that information related to quality problems or nonconforming

       product is disseminated to those directly responsible for assuring the quality of such

       product or the prevention of such problems; and

               (g)    submitting relevant information on identified quality problems, as well as

       corrective and preventative actions, for management review.

       229.    Upon information and belief, Wright’s Conserve® Total Hip System is adulterated

pursuant to 21 U.S.C. § 351 because, among other things, it failed to meet established performance

standards and/or the methods, facilities or controls used for its manufacture, packing, storage or

installation are not in conformity with federal requirements. See 21 U.S.C. § 351.




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       230.    Upon information and belief, Wright’s Conserve® Total Hip System is misbranded

because, among other things, it is dangerous to health when used in the manner prescribed,

recommended or suggested in the labeling thereof. See 21 U.S.C. § 352.

       231.    Upon information and belief, Wright’s Conserve® Total Hip System is adulterated

pursuant to 21 U.S.C. § 351 because Wright failed to establish and maintain CGMP for its

Conserve® Total Hip System, including components, in accordance with 21 C.F.R. § 820, et seq.,

as set forth above.

       232.    Upon information and belief, Wright failed to establish and maintain CGMP with

respect to the quality audits, quality testing and process validation for its Conserve® Total Hip

System, including its components.

       233.    As a result of Wright’s failure to establish and maintain CGMP as set forth above,

Wright’s Conserve® Total Hip Systems were defective and failed, resulting in injuries to Plaintiff

Spangler.

       234.    If Wright had complied with the federal requirements regarding CGMP, Wright’s

Medical Conserve® Total Hip Systems would have been manufactured and/or designed properly

such that it would not have resulted in injuries to Plaintiff Spangler.

       235.    Plaintiff Spangler’s injuries were both factually and proximately caused by the

Defendant’s defective Conserve® Total Hip Systems.

       236.    Plaintiff Spangler’s injuries were both factually and proximately caused by the

Defendant’s unreasonably dangerous Conserve® Total Hip Systems.

       237.    Plaintiff Spangler further shows that he is entitled to recover for all noneconomic

and compensatory damages allowed by law, including, but not limited to, pain and suffering for




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all pain and suffering that she has incurred as a result of the defective product, the follow-up

surgery, rehabilitation, and constant pain that occurs as a result of the failure of the Device.

                                            LIABILITY

     COUNT 1 – NEGLIGENT DESIGN AND FAILURE TO WARN OR INSTRUCT

       238.    Plaintiff incorporated by reference as if fully set forth herein the facts alleged in

paragraphs 1-237 of this Complaint.

       239.    Wright owed a duty of reasonable care to the general public, including Plaintiff

Lawrence Spangler, when it designed, manufactured, assembled, inspected, tested, marketed,

placed into the stream of commerce, and sold the Conserve® Total Hip System, to protect users

from an unreasonable risk of harm when using the Device for its intended purpose, in a reasonably

foreseeable manner.

       240.    Wright breached this duty by designing, manufacturing, assembling, inspecting,

testing, marketing, distributing and selling the Conserve® Total Hip System in a defective and

unreasonably unsafe condition including, but not limited to, its foreseeably appreciated risk of

harm from the Device’s propensity for fretting, corrosion and failure. A reasonably prudent

medical device manufacturer would not have acted in this manner.

       241.    Likewise, Wright owed Plaintiff a duty of reasonable care to discover the defects

and to inform and/or warn him or his implanting surgeon of the defects once they were discovered,

and Defendant failed to warn of the dangers inherent in the reasonably foreseeable use of the

Conserve® Total Hip System, further placing Plaintiff at risk for harm and injury.

       242.    Wright failed to exercise ordinary care in the design, formulation, manufacture,

sale, testing, quality assurance, quality control, labeling, warning, marketing, promotions and

distribution of the Conserve® Total Hip System. Wright knew or should have known that these




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products cause significant bodily harm and were not safe for use by consumers, and/or through

failure to comply with federal requirements.

       243.    Wright, furthermore, in advertising, marketing, promoting, packaging and selling

the Device negligently misrepresented material facts regarding its safety, efficacy and fitness for

human use by claiming the Device was fit for its intended purpose when, in fact, it was not.

       244.    Wright, in advertising, marketing, promoting, packaging and selling the Device,

negligently misrepresented material facts regarding its safety, efficacy and fitness for human use

by claiming the Device had been adequately and reliably tested when, in fact, it had not.

       245.    Wright, in advertising, marketing, promoting, packaging and selling the Device,

negligently misrepresented material facts regarding its safety, efficacy and fitness for human use

by claiming the risk of serious adverse events and/or effects from the Device was comparable to

that of other hip replacements systems when, in fact, it was not.

       246.    Wright, in advertising, marketing, promoting, packaging and selling the Device,

negligently misrepresented material facts regarding its safety, efficacy and fitness for human use

by claiming the Device had not caused or contributed to serious adverse events and/or effects

requiring the premature revision surgery to replace and/or repair the Device when, in fact, it had.

       247.    Wright knew or had reason to know that Plaintiff Spangler, as a member of the

general public for whose use the Device was placed into interstate commerce, would be likely to

use the Device in a manner described in this Complaint.

       248.    Wright knew or should have known of the dangers associated with the manner and

circumstances of Plaintiff Spangler’s foreseeable use of the Device, which dangers would not be

obvious to the general public.




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        249.    Despite the fact that Wright knew or should have known that the Conserve® Total

Hip System posed a serious risk of bodily harm to consumers, Wright continued to manufacture

and market the Device for use by consumers and/or continued to fail to comply with federal

requirements.

        250.    Wright knew or should have known that consumers such as Plaintiff Spangler

would foreseeably suffer injury as a result of Wright’s failure to exercise ordinary care as described

above, including the failure to comply with federal requirements.

        251.    Wright’s conduct, as described above, including, but not limited to, its failure to

adequately test and warn as well as its continued marketing and distribution of the Conserve® Total

Hip Systems when it knew or should have known of the serious health risks these Devices created

and/or the failure to comply with federal requirements, was and is negligent.

        252.    As a direct and proximate result of Wright’s negligence, including negligent testing,

failure to warn and misrepresentations, Plaintiff Spangler suffered serious physical injury, harm,

damages, and economic loss and will continue to suffer such harm, damages and economic loss in

the future.

        253.    As a direct and proximate result of Wright’s negligence, Plaintiff Spangler has

suffered and will continue to suffer injuries, damages and losses, and is entitled to compensatory

damages in an amount to be determined by the trier of fact.

        254.    Wright was negligent in the particulars set forth in this Complaint, and such

negligence was a direct and proximate cause of the incident and injuries set forth herein.

          COUNT 2 – STRICT PRODUCTS LIABILITY: DEFECTIVE DESIGN

        255.    Plaintiff incorporates by reference as if fully set forth herein the facts alleged in

paragraphs 1-237 of this Complaint.




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       256.    Plaintiff was damaged by the defective Conserve® Total Hip Systems.

       257.    Wright was engaged in the business of manufacturing, selling and distributing the

Conserve® Total Hip System.

       258.    The Wright Conserve® Total Hip Systems used in Plaintiff Spangler’s right and left

hip replacement surgeries were supplied in a defective condition in their design, such that they

would generate metal debris, metal ion cast off and corrosion at the articulating surface, rendering

them unreasonably dangerous.

       259.    Wright had a duty to place into the stream of commerce, manufacture, distribute,

market, promote and sell each Conserve® Total Hip System so that it was neither defective nor

unreasonably dangerous when put to the use for which it was designed, manufactured, distributed,

marketed and sold.

       260.    On and prior to January 22, 2010 (and December 1, 2006), Wright was engaged in

the business of designing, manufacturing, marketing, distributing and selling orthopedic hip

implants and did design, manufacture, distribute, market and sell each Device.

       261.    Wright did in fact manufacture, sell, distribute, supply and/or promote the Device

to Plaintiff Spangler and his implanting physician. Wright expected the Device it was selling,

distributing, supplying, manufacturing and/or promoting to reach, and which did in fact reach,

implanting physicians and consumers in the State of Illinois, including Plaintiff Spangler and his

implanting physician, without substantial change in the condition.

       262.    At the time each Device left the possession of Wright and the time the Device

entered the stream of commerce, it was in an unreasonably dangerous or defective condition.

These defects include, but are not limited to, the following:

               (a)     the Device was not reasonably safe as intended to be used;




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                 (b)     the Device had an inadequate design for the purpose of hip replacement;

                 (c)     the Device contained unreasonably dangerous design defects, including an

          inherently unstable and defective design, to include the use of cobalt and chromium metal

          alloys (i.e. a CoCr modular Head and CoCr acetabular cup) as the articulating surface,

          which resulted in an unreasonably high probability of early failure;

                 (d)     the Device’s unstable and defective design resulted in a hip prosthesis which

          had risks which exceeded the benefits of the medical device;

                 (e)     the Device was not appropriately or adequately tested before its distribution;

          and

                 (f)     the Device has an unreasonably high propensity for metal debris and fretting

          corrosion under normal and expected use of the Device.

          263.   At the time of Defendant’s initial design, manufacture, marketing and sale of the

Device, a safer, feasible, alternative safer design for the Device was known and available to

Wright, including, but not limited to, a titanium shell with a polyethylene liner acetabular cup

design.

          264.   At the time of and subsequent to Wright’s initial design, manufacture, marketing

and sale of the Device, including prior to the time of Plaintiff Spangler’s initial right and left hip

implant surgeries, Wright had the ability to eliminate the unsafe character of the Device without

impairing its usefulness.

          265.   Wright’s Conserve® Total Hip System Devices, were, therefore, defective in design

or formulation in that, when they left Wright’s hands, the foreseeable risk of harm from the product

exceeded or outweighed the benefit or utility of the Device’s particular design or formulation,




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and/or it was more dangerous than an ordinary consumer would expect, and/or it failed to comply

with federal requirements for these medical devices.

       266.    The foreseeable risks associated with the design or formulation of the Wright

Conserve® Total Hip System devices include, but are not limited to, the fact that the design or

formulation of the Conserve® Total Hip System Devices is more dangerous than a reasonably

prudent consumer would expect when used in an intended or reasonably foreseeable manner,

and/or it failed to comply with federal requirements.

       267.    As a direct and proximate result of Plaintiff Spangler’s use of Wright’s Conserve®

Total Hip System Devices, as manufactured, designed, sold, supplied, marketed and introduced

into the stream of commerce by Wright and/or their failure to comply with federal requirements,

Plaintiff Spangler has suffered serious physical injury, harm, damages and economic loss and will

continue to suffer such harm, damages and economic loss in the future.

       268.    As a direct and proximate result of Wright’s defective products and tortious conduct

as set forth herein, Plaintiff Spangler has suffered and will continue to suffer injuries, damages and

losses, and is entitled to compensatory damages in an amount to be determined by the trier of fact.

       269.    The Conserve® Total Hip System’s defective condition proximately caused

Plaintiff Lawrence Spangler’s damages.

     COUNT 3 – STRICT PRODUCTS LIABILITY: MANUFACTURING DEFECT

       270.    Plaintiff incorporates by reference as if fully set forth herein the facts alleged in

paragraphs 1-237 of this Complaint.

       271.    Plaintiff Spangler was damaged by the defective Conserve® Total Hip Systems.

       272.    Wright was engaged in the business of manufacturing, selling and distributing the

Conserve® Total Hip Systems.




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       273.    The Conserve® Total Hip Systems used in Plaintiff Spangler’s right and left hip

replacement surgeries were supplied in a defective condition in their manufacture, such that they

would generate metal debris, fretting and corrosion at the head cup interface, rendering them

unreasonably dangerous.

       274.    The Conserve® Total Hip Systems’ defective condition proximately caused

Plaintiff’s damages.

           COUNT 4 – STRICT PRODUCTS LIABILITY – FAILURE TO WARN

       275.    Plaintiff incorporates by reference as if fully set forth herein the facts alleged in

paragraphs 1-237 of this Complaint.

       276.    Plaintiff Spangler was damaged by the defective right and left Conserve® Total Hip

Systems.

       277.    Wright was engaged in the business of manufacturing, selling and distributing the

Conserve® Total Hip Systems.

       278.    At all times relevant herein, Wright was engaged in the design, development,

testing, manufacturing, marketing and sale of the Conserve® Total Hip System devices.

       279.    Wright designed, manufactured, assembled and sold the Conserve® Total Hip

System devices to medical professionals and patients knowing that they would then be implanted

in patients in need of hip prosthesis.

       280.    Wright distributed and sold the Conserve® Total Hip System devices in a condition

such that when they left its place of manufacture, in their original form of manufacture, they

included the defects described herein.




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       281.     The Conserve® Total Hip System devices were expected to and did reach Plaintiff

Spangler and his implanting surgeon, Dr. Smit, without substantial change or adjustment in their

condition as manufactured and sold by Wright.

       282.     Defendant’s Conserve® Total Hip System devices designed, developed, tested,

manufactured, marketed and sold or otherwise placed into the stream of commerce by Wright were

in a dangerous and defective condition and posed a threat to any user or consumer of the Conserve®

Total Hip System devices.

       283.     At all times relevant herein, Plaintiff Spangler was a person whom Wright should

have considered to be subject to the harm caused by the defective nature of the Conserve® Total

Hip System devices.

       284.     Wright’s Devices were implanted and used in the manner for which they were

intended.

       285.     This use has resulted in severe physical and emotional and other injuries to Plaintiff

Spangler.

       286.     Wright knew or should have known through testing, adverse event reporting or

otherwise that its Conserve® Total Hip System devices created a high risk of bodily injury and

serious harm.

       287.     Wright had a duty to warn its sales representatives/distributors, implanting

surgeons such as Dr. Smit and patients such as Plaintiff Spangler, and Wright breached its duty in

failing to provide adequate and timely warnings or instructions regarding its Conserve® Total Hip

System devices and their known defects.

       288.     Wright, furthermore, breached its duty to warn at pre-surgery and/or post-surgery

by   (a)    failing   to   adequately    communicate      the   warning     to   Defendants’    sales




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representatives/distributors and/or to the ultimate users, i.e., Plaintiff and/or his implanting

physician; and/or (b) by failing to provide an adequate warning of each Device’s potential risks.

       289.    Adequate efforts to communicate a warning to the ultimate users were not made by

Wright (or its sales representatives/distributors) and, to the extent a warning was communicated

by Wright, the warning was inadequate.

       290.    The warnings (pre-surgery and/or post-surgery) to Plaintiff Spangler and his

implanting physician about the dangers the right and left Device posed to consumers were

inadequate. Examples of the lack and/or inadequacy of Wright’s warnings include, but are not

limited to, one or more of the following particulars:

               (a)     the right and left Device contained warnings insufficient to alert Plaintiff

       Spangler and Plaintiff’s physicians as to the unreasonably high failure rate and propensity

       for generating metal wear debris, metal ion cast off and corrosion, associated with the

       Devices, subjecting Plaintiff to risks which exceeded the benefits of the Devices;

               (b)     the right and left Device contained misleading warnings emphasizing the

       efficacy of the Devices while downplaying the risks associated with it, thereby making use

       of the Devices more dangerous than the ordinary consumer would expect;

               (c)     the right and left Devices contained insufficient and/or incorrect warnings

       to alert consumers, including Plaintiff, through their prescribing physicians regarding the

       risk, scope, propensity, frequency, duration and severity of the adverse events associated

       with the Devices;

               (d)     the right and left Devices’ warnings and instructions did not disclose that it

       was inadequately tested;




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               (e)      the Devices warnings and instructions failed to convey adequate post-

       marketing warnings regarding the risk, severity, propensity, frequency, scope and/or

       duration of the dangers posed by each Device; and

               (f)      the right and left Devices’ instructions were insufficient to alert physicians

       and consumers to the dangers it posed and to give them the information necessary to avoid

       or mitigate those dangers.

       291.    Plaintiff Spangler used the each Device for its intended purpose, i.e., hip

replacement.

       292.    Plaintiff Spangler could not have discovered any defect in the Devices through the

exercise of due care.

       293.    Wright, as designer, developer, manufacturer, marketer and distributor of medical

devices is held to the level of knowledge of an expert in the field.

       294.    Plaintiff Spangler and his implanting physician did not have substantially the same

knowledge about the right and left Device as Wright who was the designer, manufacturer, and

distributor of each Device.

       295.    Wright reasonably should have known if its Devices were unsuited for active

individuals such as Plaintiff Spangler.

       296.    As a direct and proximate result of Wright’s failure to adequately communicate a

warning and/or failure to provide an adequate warning and other wrongful conduct as set forth

herein, Plaintiff Spangler has sustained and will continue to sustain severe physical injuries, severe

emotional distress, mental anguish, economic losses and other damages, as set forth herein.

       297.    As a direct result of Wright’s failure to warn and/or inadequate warning and

Defendant’s other tortious conduct, Plaintiff Spangler has suffered serious physical injury, harm,




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damages and economic loss and will continue to suffer such harm, damages and economic loss in

the future.

        298.   As a direct and proximate result of Wright’s failure to warn and/or inadequate

warning and its other tortious conduct, as set forth herein, Plaintiff has suffered and will continue

to suffer injuries, damages and losses, and is entitled to compensatory damages in an amount to be

determined by the trier of fact.

                          COUNT 5 – NEGLIGENT MISREPRESENTATION

        299.   Plaintiff incorporates by reference as if fully set forth herein the facts alleged in

paragraphs 1-237 of this Complaint.

        300.   Wright had a duty to accurately and truthfully represent to the medical community,

Plaintiff Spangler, and the public that the Conserve® Total Hip Systems had not been adequately

tested nor found to be safe and effective for the treatment of patients requiring a hip replacement.

Instead, Wright made representations about the right and left Device that it, at a minimum, should

have known to be false.

        301.   Wright negligently misrepresented to the medical community, implanting

orthopedic surgeon Dr. Smit, Plaintiff Spangler, and the public that the Conserve® Total Hip

Systems presented no risk or a low risk of unreasonable and dangerous adverse side effects.

        302.   Had Wright accurately and truthfully represented to the medical community, Dr.

Smit, Plaintiff, and the public the material facts that it knew or should have known regarding the

risks of the right and left Conserve® Total Hip Systems, Plaintiff Spangler and/or Plaintiff’s

healthcare provider(s) would not have utilized Wright’s Conserve® Total Hip Systems.

        303.   As a direct and proximate result of Wright’s negligent misrepresentations, Plaintiff

has experienced significant mental and physical pain and suffering, has sustained permanent




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injury, has undergone medical treatment and will likely undergo further medical treatment and

procedures, has suffered financial or economic loss, including, but not limited to, obligations for

medical services and expenses, and other damages.

                              COUNT 6 – FRAUD BY CONCEALMENT

       304.    Plaintiff incorporates by reference as if fully set forth herein the facts alleged in

paragraphs 1-237 of this Complaint.

       305.    Wright had a duty to accurately and truthfully represent to the medical community,

Plaintiff, and the public that Wright Medical Conserve® Total Hip System had not been adequately

tested and found to be safe and effective for the treatment of patients requiring a hip replacement.

Instead, Wright knew, but deliberately failed to communicate this to Plaintiff or Plaintiff’s

surgeon.

       306.    Wright had a duty to inform, but fraudulently concealed from the medical

community, implanting orthopedic surgeon Dr. Smit, Plaintiff, and the public that the Wright

Medical Conserve® Total Hip System had an unreasonable and dangerous risk of generating metal

debris and metal ions causing bodily injury.

       307.    Wright knew of the risk of metal debris and corrosion and resulting bodily injury

present in the Devices implanted in Plaintiff, while neither Plaintiff nor Plaintiff’s implanting

surgeon had this information. Neither Plaintiff nor implanting surgeon could have discovered this

information through reasonable diligence.

       308.    Wright had a duty to communicate the increased risk and known failures associated

with the Devices implanted in Plaintiff to Plaintiff and Plaintiff’s surgeon.




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       309.    Plaintiff and Plaintiff’s surgeon justifiably relied upon Wright to communicate

known risks and failures in both the decision to implant the right and left Devices and follow up

treatment after index surgeries.

       310.    Had Wright accurately and truthfully represented to the medical community, Dr.

Smit, Plaintiff, and the public the material facts that it knew regarding the risks of the Conserve®

Total Hip Systems, Plaintiff and/or Plaintiff’s healthcare provider(s) would not have utilized

Wright’s Conserve® Total Hip System.

       311.    Had Wright not fraudulently concealed the increased risk of metal debris, metal

ions and corrosion, the dangers from corrosion and metal debris, the known failures of the devices

from Plaintiff or Plaintiff’s surgeon, Plaintiff’s injuries would have been avoided or limited.

       312.    As a direct and proximate result of Wright’s fraudulent concealments, Plaintiff has

experienced significant mental and physical pain and suffering, has sustained permanent injury,

has undergone medical treatment and will likely undergo further medical treatment and

procedures, has suffered financial or economic loss, including, but not limited to, obligations for

medical services and expenses, and other damages.

                        COUNT 7 –FRAUDULENT MISREPRESENTATION

       313.    Plaintiff incorporates by reference as if fully set forth herein the facts alleged in

paragraphs 1-237 of this Complaint.

       314.    Wright made false representations of material fact to Plaintiff and/or her healthcare

providers as to the safety and efficacy of its Conserve® Total Hip Systems before they were

selected and utilized in Plaintiff’s hip replacement surgeries.

       315.    Instead of disclosing the heightened risks of corrosion, failure, and permanent

injury, Wright represented via printed literature and statements to surgeons:



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               a) that there was no indication of an increased risk of adverse events due to metal-

                   on-metal articulation-generated fretting and corrosion,

               b) that cobalt and chromium metal ions had been tested clinically;

               c) that the clinical testing had shown that exposure to cobalt and chromium metal

                   ions had proved them to be safe;

               d) that cobalt-chromium articulating components resulted in less wear than metal-

                   on-polyethylene and would last longer; and

               e) that each Conserve® Total Hip System, including its component parts, were safe

                   and effective, and were safer and more effective than other treatments for hip

                   replacements.

       316.    Wright knew that the above representations alleged in paragraph 315 were false,

yet willfully, wantonly, and recklessly disregarded the inaccuracies in its representations.

       317.    Wright made these false representations with the intent of defrauding and deceiving

the medical community (including implanting surgeon Dr. Smit, Plaintiff, and the public), and to

induce the medical community, Plaintiff’s implanting surgeon, Plaintiff and the public to utilize

its Conserve® Total Hip System. Doing so constituted a callous, reckless, willful, and depraved

indifference to the health, safety, and welfare of Plaintiff and the public.

       318.    Plaintiff and his implanting orthopedic surgeon Dr. Smit reasonably and justifiably

relied upon Wright’s false representations of material fact in deciding to utilize the Conserve®

Total Hip Systems.

       319.    Had Plaintiff or his healthcare providers known the true facts about the dangers and

health risks of the Wright Conserve® Total Hip System, they would not have utilized the Device.




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       320.    As a direct and proximate result of Wright’s fraudulent conduct, Plaintiff has

experienced significant mental and physical pain and suffering, has sustained permanent injury,

has undergone medical treatment and will likely undergo further medical treatment and

procedures, has suffered financial or economic loss, including, but not limited to, obligations for

medical services and expenses, and other damages.

                            COUNT 8 – LOSS OF CONSORTIUM

       321.    Plaintiffs incorporate by reference as if fully set forth herein the facts alleged in

paragraphs 1-237 of this Complaint.

       322.    At all times herein mentioned, Plaintiffs Lawrence Spangler and Margaret Spangler

were, and are, legally married as husband and wife.

       323.    As a direct and proximate result of Wright’s defective Conserve® Total Hip

Systems and tortious conduct, and as a result of the injuries and damages to Plaintiff Lawrence

Spangler arising therefrom, Plaintiff Margaret Spangler has been deprived of the love,

companionship, comfort, affection, society, solace or moral support, protection, loss of enjoyment

of sexual relations, and loss of physical assistance in the operation and maintenance of the home,

of her husband, Lawrence Spangler, and has thereby sustained and will continue to sustain

damages.

       324.    Plaintiff Margaret Spangler is entitled to recover damages for her loss of

consortium in an amount to be proven at trial.



                                 COUNT 9 – PUNITIVE DAMAGES

       325.    Plaintiff incorporates by reference as if fully set forth herein the facts alleged in

paragraphs 1-237 of this Complaint.




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       326.    Wright knew or should have known, in light of the surrounding circumstances, that

its conduct would naturally and probably result in injury or damage and continued the conduct

with malice or in reckless disregard of the consequences, from which malice may be inferred.

Accordingly, Plaintiff is entitled to an award of punitive damages.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment and an award of damages against Wright, as

follows:

       (a)     for special damages, to include past and future medical and incidental expenses,

according to proof;

       (b)     for past and future loss of earnings and/or earning capacity, according to proof;

       (c)     for past and future general damages, to include pain and suffering, emotional

distress and mental anguish, according to proof;

       (d)     for exemplary and punitive damages in an amount to be determined at trial;

       (e)     for pre-judgment and post-judgment interest;

       (f)     for the costs of this action, including reasonable attorneys’ fees;

       (g)     granting any and all such other and further legal and equitable relief as the Court

deems necessary, just and proper; and

       (i)     for, in accordance with T.C.A. § 29-28-107, an amount sought of Five Million

Dollars ($5,000,000.00).




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A TRIAL BY JURY IS RESPECTFULLY DEMANDED.


Dated: November 29, 2018.

                                   Respectfully submitted,


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